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                            EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE


    FUSION ELITE ALL STARS, et al.,

                     Plaintiffs,
               v.
                                                              Civ. Action No. 2:20-cv-02600
    VARSITY BRANDS, LLC, et al.,

                     Defendants.




    JESSICA JONES, et al.,

                     Plaintiffs,
               v.
                                                              Civ. Action No. 2:20-cv-02892
    BAIN CAPITAL PRIVATE EQUITY, et al.

                     Defendants.



     DECLARATION OF RONALD SHAW IN SUPPORT OF MOTION TO QUASH OR
           MODIFY SUBPOENA DIRECTED TO MARLENE COTA AND
                       FOR PROTECTIVE ORDER

  I, Ronald Shaw, declare as follows:

          1.        I am over twenty-one (21) years of age, of sound mind, and competent to make

  this declaration. I make the following statements based upon my own personal knowledge of the

  facts stated herein.

          2.        I am employed with Varsity Spirt, LLC (Varsity) as a Shipping Receiving

  Manager and held this position in 2018 at the time of Marlene Cotas termination.

          3.        On January 10, 2018, I assisted Robert Tisdale in delivering boxes to Marlene

  Cotas car. I only assisted in delivering the boxes and have no knowledge of their contents.
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         4.     I declare under penalty of perjury that the foregoing is true and correct. Executed

  on January 14, 2022.


                                                             _____________________________
                                                             Ronald Shaw
